
2 N.Y.2d 822 (1957)
In the Matter of Janet M. Grace, an Incompetent Person. Grace National Bank of New York, as a Member of the Committee of the Property of Janet M. Grace, an Incompetent Person, Respondent; Michael P. Grace, II, as a Member of the Committee of the Property of Janet M. Grace, an Incompetent, Appellant, and Real Property Owners, Inc., Intervenor-Respondent.
Court of Appeals of the State of New York.
Argued November 26, 1956.
Decided January 10, 1957.
Myles J. Lane, Emil Morosini, Jr., Stuart G. Schwartz and Rudolph E. Boschwitz for appellant.
Robert E. Lawther, Oscar M. Bate and Cecil L. Head for respondent.
Myles B. Amend, Terence J. Mullen, John J. Duffy and Carmine Di Giosaffatte for intervenor-respondent.
Concur: CONWAY, Ch. J., DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE, JJ.
Order affirmed, with one bill of costs to respondents payable out of the incompetent's estate. Under the circumstances of this case, no error of law was committed by Special Term in approving the executory contract signed by both members of the committee for the sale of real property of this incompetent. No opinion.
